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          Nationwide’s Complaint
               EXHIBIT A
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               2 HAJIR ARDEBILI [SBN 224624]                                SUPERIOR COURT OF CALIFORNIA
                                                                                COUNTY OF RIVERSIDE
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                 NATIONWIDE HEALTH PROPERTIES, LLC
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             10                         SUPERIOR COURT OF THE STATE OF CALIFOR.t~IA
             11                                   FOR THE COUNTY OF RIVERSIDE
             12
             13 NATIONWIDE HEALTH PROPERTIES, LLC,               Case No.   RIC      1815570
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lXl    "'
       ()       a Delaware limited liability company,
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0:::   Ol     14                                                 COMPLAINT FOR:
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       <                           Plaintiff,
0      §     15                                                   1. DECLARATORY RELIEF;
t-           16 v.                                                2. BREACH OF CONTRACT;
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             17  BANNING HEALTHCARE INVESTMENT,
                                                                  3. INTENTIONAL INTERFERENCE
                                                                     WITH CONTRACT;
~      ]
                 LLC a Washington limited liability company;      4. INTENTIONAL INTERFERENCE
0:::         18 CAREAGE INC .. a Washington corporation;             WITH PROSPECTIVE ECONOMIC
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       0         CAREAGE HEALTHCARE OF                               ADVANTAGE; AND
~            19 WASHINGTON, INC., a Washington                    5. NEGLIGENT INTERFERENCE WITH
(/)
             20 corporation; CAREAGE HOME HEALTH OF                  PROSPECTIVE ECONOMIC
                 CALIFORNIA, LLC. a Washington limited               ADVANTAGE
             2.1 liability company· RCCI, LLC a Washington
                 limited liability company: GENE LYNN, an
             22 individual· and DOES I through 20. inclusive,
             ")"'
             ,_j
                                   Defendants,
             24
                    and

                    MLD BANNING INVESTMENT, LLC, a
             26     California limited liability company,
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                                   Nominal Defendant.
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                                           INTRODUCTION AND SUMMARY OF CLAIMS
               2           1.     This action arises out of a scheme to wrongfully deprive Plaintiff Nationwide Health
               3 Properties, LLC of its rights under two loan agreements that Plaintiffs corporate predecessor,
               4 Nationwide Health Properties, Inc., entered into with Nominal Defendant MLD Banning Investment
               5 LLC ("MLD") pursuant to which it extended a total of nearly $18 million in loans to MLD that
               6 were used to finance an assisted living and memory care facility in Banning, California known as
               7 '·The Lakes at Banning." The plot to deny Plaintiff the benefit of its bargain under those loan
               8 agreements was conceived by Defendant Gene Lynn- who originated the idea to develop the
               9 healthcare facility- and carried out by Lynn and his companies, Defendants Banning Healthcare
              10 Investment, LLC (" BHJ") Careage, Inc., Careage Healthcare of Washington, Inc. Careage Home
              11 Health of California LLC, and RCCI, LLC. Defendant BHI is one of the two members of MLD,
              12 with the other member being non-party MLD Financial Capital Corporation ("FCC' ).
              13          2.      Lynn not only benefitted from Plaintiffs complete financing of his healthcare project,
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        c     14 but also profited by the funds being used to pay Lynn' s Careage companies to perform the
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        --'   15 development and construction ofthe facility. Thus, the loan agreements between Plaintiff and MLD
I-            16 were structured to give Lynn and his companies tremendous upside at the beginning of the
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              17 transaction, with Plaintiff receiving most of its benefit during the latter stages of the deal. The loan
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0::::   .Q    18 amounts were not dictated by Plaintiff, but instead gave MLD everything Lynn asked for based on
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~             19 Lynn' s own projections of the venture' s anticipated performance. In fact Lynn was so confident in
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              20   his plans that he and one of his Careage companies each personally guaranteed the venture' s lease
              21   payments. Lynn' s healthcare venture has not succeeded as he hoped, however, which has required
              22   him to contribute his own funds to keep it afloat. In an effort to alleviate the financial pressure on
              23   him personally, Lynn now seeks to renege on the agreements that he made with Plaintiff(and MLD)
              24 extort concessions from Plaintiff in the fom1 of reduced interest rates on the loans that Plaintiff
              25   extended to MLD (including by way of directing his company BHJ to file a derivative lawsuit
              26 purportedly on behalf of MLD), and cause MLD to deny Plaintiff its contractual right to participate
              27 in financing the development of certain property adjacent to the existing healthcare facility, all of
              28   which deprive Plaintiff of the benefits that it was entitled to receive in exchange for making the
              29 loans that were instrumental to getting Lynn· s venture off the ground.
              30          3.      The ultimate goal of Lynn' s scheme is not to help MLD, but to benefit himself at the
              31   expense of both Plaintiff and MLD. !fLynn' s campaign succeeds, then Plaintiffwilllose millions of
              32 dollars that it otherwise would have earned through the MLD loans and potentially financing the
              33   development of the property adjacent to The Lakes. Accordingly, Plaintiff brings this action for



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               1   declaratory relief and compensatory damages to obtain an order that its existing loan agreements
               2   with MLD shall remain in effect as originally negotiated, and seek redress for the economic injury
               3   that it has already suffered as a result of Lynn and his companies' acts and o missions, which injuries
               4   wi II only be exacerbated in the absence of the relief requested in tills complaint.
               5                                       JURISDICTION AND VENUE
               6           4.      This Court has subject matter j urisdiction over this dispute because Plaintiff brings
               7   claims under the statutory and common law of the State of California for acts occurring in this
               8   jurisdiction.
               9           5.      This Court has personal jurisdiction over Defendants because each of them regularly
              10 conducts business in the State of California, and Defendants' bad acts complained of herein
              11   occurred and took effect in, this judicial district.

              12           6.      Venue is proper in this Court pursuant to California Code of Civi l Procedure section

>-            13 395, et seq. , because the acts and omissions alleged in this Complaint took place, and Plaintiff
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        c     14 suffered dan1ages, in the State of California, County of Riverside.
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        --'   15                                                THE PARTIES
I-            16           7.      PlaintiffN ationwide Health Properties, LLC is a Delaware limited liability company
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              17 authorized to do and doing business in California, with its principal place of business in Louisville,
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n:::    .Q    18 Kentucky. Plaintiffs predecessor, Nationwide Health Properties, Inc., was incorporated in or about
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:::.L         19 October 1985 and operated under that name until approximately August 2011 , when it became
V)
              20 Nationwide Health Properties, LLC. (Nationwide Health Properties, LLC, together with its
              21 predecessor, Nationwide Health Properties, Inc., are collectively referred to herein as "Plaintiff' or
              22 ''NHP.") Plaintiff operates as a publicly traded real estate investment trust (" REIT"') that invests in
              23   senior housing fac ilities and long-term care facilities throughout the United States.

              24           8.      Plaintiff is informed and believes, and on that basis alleges, that Nominal Defendant

              25   MLD Banning Investment, LLC ( 'MLD.') is, and at all relevant times was, a California limited

              26   liability company, authorized to do and doing business in the State of California.

              27           9.      Plaintiff is informed and believes, on that basis alleges that Defendant Banning

              28   Healthcare Investment, LLC ("'BHI ..) is, and at all relevant times was, a Washington limited liability

              29 company authori zed to do and doing business in California, w ith its principal place of business in
              30 Gig Harbor Washington. Plaintiff is informed and believes, and on that basis alleges, that since
              31 2003 BHI has been a member of Nominal Defendant MLD. Plaintiff is further informed and
              32   believes, and on that basis alleges, that BHI ' s sole member is Lynn or a Lynn-controlled trust.

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                          10.    Plai ntiff is informed and believes. and on that basis alleges. that Defendant Careage,
              2   Inc. is, and at al l relevant times was, a Washi ngton corporation authorized to do and doing busi ness
              3   in Cal ifornia, with its principal place of business in Gig Harbor, Washington. Pla intiff is further
              4   informed and believes, and on that basis alleges, that Lynn owns and/or controls Careage, Inc.

              5           11 .   Plaintiff is informed and believes, and on that basis alleges, that Defendant Careage

              6   Healthcare of Washington, Inc. ('·Careage Healthcare'·) is, and at all relevant times was, a

              7   Washington corporation authori zed to do and doing business in Califo rnia, w ith its principal place of
              8   business in Gig Harbor, Washington. Plaintiff is further informed and believes. and on that basis
              9   alleges. that Ly nn owns and/or contro ls Careage Healthcare.

             10           12.    P laintiff is informed and believes. and on that basis alleges, that Defendant Careage

             11   Home Health of California. LLC ('·Careage Home Health.) is, and at all relevant times was a

             12   Washington limited liability company authori zed to do and doing business in Califo rnia, with its
             13   principal place of business in Gig Harbor, Washington. Plainti ff is further informed and believes,
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        c    14   and on that basis alleges, that Lynn owns and/or contro ls Careage Home Health. (Careage Inc.,
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        -'   15   Careage Healthcare, and Careage Home Health are collectively refen·ed to herein as ·'Careage.'')
I-           16           13.    Plai ntiff is informed and believes, and on that basis alleges, that Defendant RCCI,
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0            17   LLC ("RCCI ·) is a Washington limited liability company do ing business in Califo rnia, with its
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0::::   _Q   18   principal place of business in G ig Harbor, Washington. Plaintiff is further informed and believes,
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~            19   and on that basis alleges, that Lynn owns and/or contro ls RCCI.
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             20           14.    Plaintiff is informed and believes, and on that basis alleges, that Defendant Gene

             21   Lynn ('·Lynn") is a resident of the State of Washington. Plaintiff is further informed and believes

             22   and on that basis alleges, that Lynn amassed significan t wealth developing and operating assisted

             23   livi ng and other healthcare fac ilities from the state of Washington to California.

             24           15.    Plaintiff is ignorant of the true names and capacities of the defendants sued herein as

             25   Does 1 throug h 20, inclusive, and therefore sues these defendants by such fictitious names. Plaintiff

             26   will amend this Com plaint to allege the ir true names and capacities, when and if ascertained.

             27   Plaintiff is informed and believes, and on that basis alleges, that each of the fi ctitiously-named

             28   defendants is responsible in some manner for the occurrences he rein alleged and that Plaintiff's

             29   damages as herein a lleged were proximately caused by those defendants. (Collecti vely, Lynn. BHI,

             30   Careage, Inc. , Careage Healthcare. Careage Home Health, RCC I and Does 1 through 20 (i.e., all
             31   defendants except for Nominal Defendant MLD) are hereinafter referred to as .. Defendants.'·)

             32           16.    Plaintiff is informed and believes, and on that basis alleges, that at all times mate rial

             33   to this Complaint. each of the Defendants, w hether expressly or fict itio usly named, in add ition to

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                  acting for himself, herself or itself and on his, her, or its own behalf individually, is and was acting
              2   as the agent, servant, employee, partner, joint-venturer, or representative of, and with the knowledge,
              3   consent, and permission of, and in conspiracy with, each and all of the Defendants and within the
              4   course, scope, and authority of that agency, service, employment, partnership, joint venture,
              5   representation and conspiracy. Plaintiff further alleges on information and belief that the acts of
              6   each of the Defendants were fully ratified by each and all of the Defendants. Specifically, and
              7   without limitation, Plaintiff alleges on information and belief that the actions failures to act,
              8   breaches, conspiracy, and other misconduct alleged herein and attributed to one or more of the
              9   specific Defendants were approved, ratified, and done with the cooperation and knowledge of each
             10   and all of the Defendants. Plaintiff further alleges on information and belief that each and all of the
             1I   Defendants were the alter egos of one another, joint tortfeasors, and successors in interest such that
             12   each and all ofthe Defendants would be liable to Plaintiff.
             13                                        GENERAL ALLEGATIONS
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        c    14   BHI and FCC Create MLD, a Joint Venture to Develop and Own An Assisted Living Facility,
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        -'   15                                   and Plaintiff Serves as MLD's Lender
I-                        17.     Plaintiff is informed and believes and on that basis alleges that in the early 2000s,
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o -'         17   Defendant Lynn wanted to develop an assisted living facility in Banning, California called "The
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0::::   _Q   18   Lakes at Banning" ("The Lakes"). Lynn needed both a business partner and a lender to get The
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~            19   Lakes off the ground. Lynn sought out Plaintiff, which had worked with Lynn and his Careage
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             20   companies on other projects, to fulfill both roles.
             21           18.     To facilitate the arrangement, the parties created MLD in 2003 as a joint venture

             22   between Lynn (through BHl) and Plaintiff (through its subsidiary, FCC).
             23           19.     Lynn, through BHI pushed MLD, as the joint venture, to obtain loans from Plaintiff
             24   to finance The Lakes. In 2003, Plaintiff agreed to be the lender and provided I 00% of the
             25   development and acquisition costs ofThe Lakes by lending MLD $13.3 million. To compensate
             26   Plaintiff for the risk of investing 100% of the capital for the project, the loan is structured as interest

             27   only for 30 years, with interest rates starting at 11 % and adjusting upward over time. A true and

             28   correct copy of the 2003 Construction Loan Agreement between Plaintiff and MLD is attached
             29   hereto as Exhibit A.
             30           20.     In 2008. Lynn wanted to add a "memory care" unit to The Lakes. To cover the costs
             31   of developing and constructing that addition, Plaintiff provided MLD a second loan. This second
             32   loan, for $4.3 million, largely matched the terms of the fust loan and had a starting interest rate of

             33   8.2%, which adjusts upward over time. A true and correct copy of the 2008 Construction Loan

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                    Agreement between Plaintiff and MLD is attached hereto as Exhibit B. (The 2003 Construction
                2   Loan Agreement and the 2008 Construction Loan Agreement are collective! referred to herein as
                3   the ·'Loan Agreements."')

                4           21.    Not only d id Lynn receive the benefit of having The Lakes financed 100 percent by

                5   Plaintiff, but he also used the funds from both of the Loan Agreements to pay his own Careage
                6   companies to perform the development and construction of the faci lity. Thus, based on the way the
                7   parties· agreements were structured, Lynn and his companies enjoyed a significant profit at the start

                8   of the deal.

                9           22.    An Amended and Restated Operating Agreement (the '·Operating Agreement'"), a true

               10   and correct copy of w hich is attached hereto as Exhibit C, governs the administration of MLD and
               11   the r ights and obligations of its members. The express terms of the Operating Agreement are

               12   designed to preserve the structure of the parties relationships and protect the parties' expectations,
               13   inc luding maintaining the lending relationship with Plaintiff.
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        c      14           23.    To operate The Lakes, MLD entered into a lease agreement with non-party BHO,
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        --'    15   LLC (..BHO""), as the tenant; that Lynn owns BHO (99% personally. and 1% through one of his
1--            16   Careage companies); and that as part of the overall deal structure, the monthly rent payments from
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               17   BHO to MLD mirror the monthly interest payments that MLD pays to Plaintiff for the loans.
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0::::   .Q     18   Plaintiff is further informed and believes that MLD has never made a profit throughout the entire
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~              19   lease term, but instead has a lways functio ned- as Lynn (through BHI) structured it- as a pass-
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              20    through for Lynn and his companies to pay Plaintiff fo r the loans.

              21            24.    Lynn and one of his Careage entities personally guaranteed BHO's lease payments,

              22    which causes Lynn to cover any shortfall if BHO is unable or unwi lling to pay the rent to MLD.

              23       Lvnn Seeks to Rene2e on the Loan Agreements to Benefit Himself and His Companies in
              24                   Violation of MLD's Operating Agreement and the Loan Agreements
              25            25.    Plaintiff is informed and believes, and on that basis alleges, that from the inception of

              26    the deal, BHO has not generated sufficient revenue to make the rent pay ments to MLD and.

              27    therefore, Lynn has been required to cover the shortfall under his personal guaranty and the Careage

              28    guaranty, in the approximate amount of $600,000 per year.

              29            26.    As a result ofBHO' s struggles, after Lynn convinced Plaintiffto make the second

              30    loan. Lynn repeatedly demanded a complete restructuring of the original deal. As part of the
              31    restructuring, Lynn proposed that MLD refinance the loans at lower rates. But the proposal to

              32    refinance the loans was never motivated by a plan to improve the financial well-being of MLD.

              33    Instead, the refinancing of the loans was only the first step in transferring money to Lynn and his

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                      struggling tenant entity. BHO. Thus, the proposal to refinance the loans has always been intended to
                  2 sole ly benefit Lynn and his BHO entity. In short. once Lynn extracted all of the upside due to him
                  3   under the Loan Agreements and it came time for Plaintiff to enjoy its benefits of the bargain. Lynn
                  4 sought to back out of the deal. Had Lynn succeeded in his venture, he would never ha e demanded
                  5 a restructuring of the deal.
                  6          27.     But the parties' dea l was specifically structured to preclude Lynn from succeeding in
                  7 his campaign to refinance or renege on the Loan Agreements. Pursuant to the Operating Agreement,
                  8 the deal structure is expressly set up to preserve and maintain the parties' existing relationships and
                  9 agreements. including Plaintiffs ro le as the lender. Indeed, Section 4.1 ofthe Operating Agreement
                 10 specifically acknowledges that MLD ""previously financed the Company·s activities through a Joan
                 1l   fro m [Plaintiff],'" references the 2003 Construction Loan Agreement and goes on to state that MLD

                 12 ·'intend[s] to fu1ther finance the Company ' s activities through [the 2008 Construction Loan

>-               13 Agreement]." Section 5. 1 of the Operating Agreement states that " the Members have and intend to
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        c        14 continue to finance the Company ' s activities primarily through the N HP Loan,'" an acknowledgment
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        .....    15 that is reiterated in Section 5.2 (""The Members have and intend to continue to fi nance the operations
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                 16 of the Company by utilizing ... the NHP Loan . . . .'").
0 -'             17          28.     The Operating Agreement also forec loses any effort to renegotiate the interest rates
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0::::   .Q       18 set forth in the Loan Agreements. By way of exan1ple, Section 5. 7 of the Operating Agreement
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~                19 expressly excludes the NHP loan from the requirement that loans from members to the joint venture
(/)
                 20 " bear interest as such rates as may be reasonab ly approved by the Members"' and " be on terms
                 21 comparable to those which would be imposed by unrelated lending institutions for comparable loans
                 22 for the same purpose and in the same locality as the securing assets."
                 23         29.    In addition. Pla intiff and MLD entered into several assignment agreements to secure

                 24   the loans that lock in Plaintiffs role as lender and preclude any refinancing. More specifically,

                 25   MLD assigned. among other things, its rents and any other benefits derived from leases of the

                 26   property; its securi ty interest in BHO's personal property on the land where the facility is located;

                27    the agreements, plans, and spec ifications for the healthcare project; and all authorizations, approvals,

                 28   permits, variances, land use entitlements, licenses, franchises, and agreements for the use,

                 29 occupancy. or operation of the land or improvements.
                 30      BHI Files Suit Against MLD and Other Defendants, Without Joining Plaintiff as a Parh'
                 31          30.     Notwi thstanding the clear terms of the Loan Agreements, assignment agreements, and
                 32 Operating Agreement, BHl nevertheless continues its efforts to renege on its agreements. BHI
                 33   contends that it undertook an independent investigation concerning market loan rates for loans

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                      similar to those between MLD and NHP during the period between approximately 2011 and 2015. as
                  2   well as whether MLD"s loans could potentially be refinanced through a third party at a rate and on
                  3   terms that would be more advantageous to MLD. BHI further contends that its investigation
                  4   revealed that from approximately July 2011 t]u·ough the present, the loans from NHP to MLD,
                  5   totaling approximately $18 million, could have been refinanced at a lower interest rate.
                  6          31.     Based on the foregoing contentions, BHI maintains that FCC, the managing member
                  7   ofMLD, was under an obligation to refinance the loans with Plaintiff. Even if FCC had such an

                  8   obligation (which obligation FCC denies), the value of The Lakes between 2011 and 2015 was far
                  9   below MLD' s $17.7 million in outstanding debt and, accordingly, refinancing the loans in the
                 10   marketplace as Lynn and BHI requested was impossible and would remain that way without a
                 11   significant improvement in BHO's performance. Moreover, the assignment agreements between
                 12   MLD and Plaintiff leave MLD without any collateral to offer as security, which also renders any

                 13   refinancing a non-starter.
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          c      14          32.     Rather than making the necessary investment in improving BHO' s operations, Lynn
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0         Cl     15   chose to litigate. On or about December 19, 2016, BHI filed a complaint against MLD, FCC, and
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~                     Yentas Inc. , an indirect parent company to FCC and Plaintiff, asserting causes of action for breach
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oz ~__.          17   of fiduciary duties, breach of contract, and a declaration of removal of FCC as the managing member
~                     of MLD, as wel l as a pw-por1ed cause of action for alter ego liability (the '·BHI Lawsuit"). BHI
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~                19   styled its action as a derivative lawsuit purportedly on behalf of MLD, even though it is plainly
(./)
                 20   apparent that the BHI Lawsuit is motivated by Lynn's personal gain. A lthough the claims asserted
                 21   in the BHI Lawsuit are inextricably intertwined, both legally and factually. with the loans that

                 22   Plaintiff extended to MLD- and thus Plaintiff would appear to be an indispensable party to the BHI

                 23   Lawsuit- BHI inexplicably did not include Plaintiff as a party to that action.

                 24   MLD and Plaintiff Have Exclusive First Rights to Develop and Finance the Adjacent P roperty

                 25          33.     Since the time that BHI and FCC created MLD, a Lynn-controlled entity (whether

                 26   BHI or its affiliate) has owned certain property adjacent to The Lakes (the ·'Adjacent Property").

                 27   Any development of the Adjacent Property in which MLD participates has the ability to generate

                 28   business synergies and opportunities that would benefit not only the development on the Adjacent

                 29   Property but also the value and current property ofMLD. Conversely any development on the

                 30   Adjacent Property that does not support the operations of The Lakes would negati vely impact The
                 31   Lakes and MLD.
                 32          34.     Recognizing the impact any development on the Adjacent Property would have on
                 33   MLD, BHI agreed, in the MLD Operating Agreement, to give MLD ..the exclusive first right to

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                       participate with BHI or such Affi liate in the development of the Adjacent Property:· BHI was to

                2      provide information regarding any potential development to MLD, tJu·ough its managing member, to
                ...,
                .)     allow MLD to exercise that right.

                4             35.     In particular, Section 7.6 of the Operating Agreement sets forth BHI ' s duties with
                5      respect to the Adjacent Property. Section 7.6 states, in relevant part:

                6                     [I]n the event that BHI or its Affiliate elects to develop the adjacent

                7                     property owned by RCCJ, LLC (the "Adjacent Property"), MLD will

                8                     have the exclusive first right to participate with BHI or such Affi liate
                9                     in the development of the Adjacent Property. BHI or its Affiliate shall
               10                     deliver a written proposal to MLD setting forth the proposed

               Il                     development plan, anticipated development and construction costs,

               12                     project timelines and operating projections. If MLD should decline to

               13                     participate in the additional development on the Adjacent Property or
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         c     14                     fail to affirmatively respond to the written proposal within one
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0        _J0   15                     hundred twenty (120) days of its receipt thereof, and provided that the
1-             16                     project is developed for a Permitted Use (as defined in the Loan
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               17                     Agreement) or another use that does not compete with an independent
~                                     li ving facility, assisted living facility or a dementia care facility then
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~              19                     BHI or such Affiliate shall have the right to freely proceed with the
(/')
               20                     development of the Adjacent Property wi thout the participation of

               21                     MLD.

               22             36.     Also, Section 14 of the Operating Agreement describes certain indemnification

               23      obligations between MLD' s members. Section 14.1 states:

               24                     Each Member hereby agrees to indemnify, defend and hold harmless

               25                     the other Member and [MLD Banning] (and their respective direct and

               26                     indirect agents, . .. representatives. offices, directors, shareholders or

               27                     partners) fi·om and against all claims, losses, damages, costs, expenses,

               28                     liabilities, obligations ... and reasonable attorneys' fees ("'Claims..)

               29                     which may arise as a result of any of the fo llowing on the part of such

               30                     indemnifying Member, its, employees or other representatives: . .. any
               31                     act or omission that ... constitutes negligence or wi llful misconduct

               32                     on the part of the indemnifying Member.

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                           37.    Further, as partial consideration to Plaintiff in exchange for the loans that Plaintiff
                2 extended to MLD, Plaintiff was provided a contractual right to pmticipate in finm1cing any
                3 development of the Adjacent Property. Specifically, in Section 7.6 of the 2003 Construction Loan
                4 Agreement, MLD covenanted as follows:
                5                 In the event that Careage or its Affiliate elects to develop the Adjacent
                6                 Property, Lender will have the exclusive first right to finance the additional
                7                 development on the Adjacent Property at Lender's then current terms for such
                8                 projects. Lender will entertain a proposal from Careage or such Affiliate to
                9                 acquire the Adjacent Property and amend the Facility Lease or to finance the
               10                 additional development once the development concept and budgets are
               11                 completed and presented to Lender for its review and approval. Careage or its

               12                 Affiliate shall deliver a written proposal to Lender setting forth the proposed
               13                 development plan, anticipated development and construction costs, project
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         c     14                 timelines and operating projections. If Lender should decline to finance the
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         __,   15                 additional development on the Adjacent Property or fail to affirmatively
1-                                respond to the written proposal within one hundred twenty ( 120) days of its
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0 --'          17                 receipt thereof, and provided that the project is developed for a Permitted Use
~        .Q                       or another use that does not compete with an independent living facility or an
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~              19                 assisted living facility, then Careage or such Affiliate shall have the right to
V)
               20                 finance the same development concept and budget with another source of
               21                 capital.
               22          38.    Similarly, as partial consideration for Plaintiff providing the 2008 loan, Section 7.6 of

               23   the 2008 Construction Loan Agreement provided Plaintiff the contractual right to finance the
               24 development of the Adjacent Property:
               25                 In the event that Careage or its Affiliate elects to develop the Adjacent
               26                 Property Lender will have the exclusive first right to finance the

               27                 additional development on the Adjacent Property at Lender's then

               28                 current terms for such projects. Lender will entertain a proposal from
               29                 Careage or such Affiliate to acquire the Adjacent Property and amend

               30                 the Facility Lease or to finance the additional development once the
               31                 development concept and budgets are completed and presented to
               32                 Lender for its review and approval. Careage or its Affiliate shall
               33                 deliver a written proposal to Lender setting forth the proposed

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                                                                COMPLAINT
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                                    development plan, anticipated development and construction costs,
                2                   project time li nes and operating projections. If Lender should decline to
                3                   finance the additional development on the Adjacent Property or fail to
                4                   affirmati vely respond to the written proposal within one hundred
                5                   twenty ( 120) days of its receipt thereof, and provided that the project is
                6                   developed for a Permitted Use or another use that does not compete
                7                   with a dementia care fac ility. then Careage or such Affiliate shall have
                8                   the right to finance the same development concept and budget with
                9                   another source of capital.

               10          39.      In addition, Section 9.1 of the Loan Agreements makes clear that any breach of

               11   Section 7.6 above is an Event of Default under those agreements. Specifically, Section 9.1(a)(iii)

               12   defines an Event of Default to include a " material default by BorTower or any of its members or

               13   Careage (or any Affiliate of any of them other than MLD) under any other obligation owed by
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         c     14   Borrower or any of its members or Careage (or any such Affiliate) to Lender or any Affiliate of
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         -'    15   Lender, including, without limitation, the Existing Loan Agreement, w hich default is not cured
I-             16   within any applicable cure period provided in the documentation for such obligation. · Further,
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o -'           17   Section 9.1 (b) clarifies that a breach of Section 7.6 is a material default for which there is no cure
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0:::::   _Q    18   period: "There shaH be no cure period in the event of the breach by Borrower of ... the provisions of
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~              19   Section 7.6."
(.1)
               20     BHI Violates MLD and Plaintiff's Exclusive First Rights Regarding the Adjacent Property
               21          40.      The Adjacent Property came to be owned by Defendant RCCI. Like BHI, RCCI is a

               22   Washington limited liability company that is who11y owned by Lynn and/or a Lynn-associated trust.

               23   RCCI is a corporate affiliate of Careage and BHI.

               24          41.      Plaintiff is informed and believes, and on that basis alleges, that, in late 2016 or early

               25   2017, BHI and its affiliates began discussing a potential development of the Adjacent Property with

               26   non-party E PIC Management, L.P. ("EPIC"), with EPIC expressing interest in developing a medical

               27   office building on the Adjacent Property.

               28          42.      Plaintiff is informed and believes, and on that basis a lleges, that before and while

               29   negotiating a development plan for the Adjacent Property with EPIC, BHI did not inform MLD,

               30   through FCC or otherwise, about the plan or any opportunity to develop the Adjacent Property.
               31          43.      Upon information and belief, BHI and its affiliates continued to negotiate and create a

               32   plan for the development of the Adjacent Property with EPI C. As part of those negotiations and

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                                                                  COM PLAINT
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                    plans, BHI ' s affiliate, RCCI, agreed to a Purchase and Sale Agreement with EPIC whereby RCCI
                2   would sell the Adj acent Property to EPIC pmsuant to the negotiated development plan.
                3           44.     Plaintiff is informed and believes, and on that basis alleges, that BHI never provided
                4   MLD, through FCC or otherwise, a copy of the Purchase and Sale Agreement between RCCI and
                5   EPIC, or any written proposal for MLD to pa11icipate in the development of the Adjacent Property.
                6           45 .    Because BHI did not provide information to MLD to allow it to exercise its exclusive
                7 first ri ght to develop the Adjacent Property, MLD was unable to provide any such infom1ation to
                8   Plaintiff to allow Plaintiff to potentially finance such a development per the terms of the Loan
                9   Agreements.

               10           46.     Neither BHI nor any of its affiliates separately provided any information to Plaintiff

               II   regarding an exclusive first opportunity to finance the development of the Adjacent Property.
               12           47.     BHl and its affi liates (Careage, RCCI, and Lynn) also interfered with MLD's
               13   contractual obligation to Plaintiff to allow Plaintiff to fi nance the development of the Adjacent
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        c      14   Property, causing Plaintiff to lose that opportunity.
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        --'    15           48.     Due to Defendants' actions, Plaintiff has lost the potential benefits of its exclusive
1-                  right to participate in the financing of the Adjacent Property. Moreover, in the event that the
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               17   declaratory relief Plaintiff requests herein is not granted, Plaintiff risks losing the benefit of its
~       _Q          bargain pursuant to the Loan Agreements, including but not limited to interest payments to whjch it
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~              19   is entitled under those Agreement.
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               20                                        FIRST CAUSE OF ACTION
               21                             (Declaratory Relief - Against Defendant BHI and
               22                                          Nominal Defendant MLD)
               23           49.     Plaintiff restates and incorporates as though fully set forth here each of the allegations

               24   contained in paragraphs 1 through 48.

               25           50.     For the reasons alleged he rein, a present, mgent, real, and acti onable controversy

               26   withi n the mearung of California Code of Civi l Procedure section I 060 now exjsts between Plaintiff,

               27   on the one hand and Defendant BHI and Nomjnal Defendant MLD, on the other hand.

               28           51.     Plaintiff therefore requests a full and final judicial determination of its rights and
               29   responsibilities w ith regard to the Loan Agreements, including as to BHl and MLD.

               30           52.     Plaintiff hereby requests a judicial determination and order establishing the fo llowi ng:
               31                   a. Plaintiff is entitled to remain in place as MLD's lender in accordance with the

               32                       Loan Agreements.

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                                                                   COMPLAINT
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                                   b. The existing interest rates set forth in the Loan Agreements shall remain in effect,
                2                         according to the terms of those agreements.
                3                  c. The Nominal Defendant MLD is not permitted to replace the NHP loans,
                4                         according to the terms of those agreements.
                5                  d. BHI , Careage, RCCI, and/or Lynn' s development of the Adjacent Property
                6                         without giving Plaintiff the exclusive first right to participate was a material
                7                         breach and Event of Default under the Loan Agreements and, accordingly,
                8                         Plaintiff is entitled to revoke the license it provided to MLD to collect BHO' s rent
                9                         payments to MLD, and instead collect rent directly from BHO.

               10           53.    Plaintiff respectfully requests that an order providing the relief described in paragraph
               11   52 issue forthwith.
               12                                        SECOND CAUSE OF ACTION
               13                          (Breach of Contract- Against Nominal Defendant MLD)
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         c     14           54.    Plaintiff restates and incorporates as though fully set forth here each of the allegations
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0        _J0 15     contained in paragraphs 1 through 48.
I-             16           55.    Plaintiff and MLD entered into two written, legal, and enforceable contracts, i.e., the
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               17 Loan Agreements.
~        .Q             56.   Plaintiff performed all, or substantially all , of its obligations under the Loan
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:::..L         19 Agreements, except to the e>..1ent that Plaintiff's perfom1ance was excused, waived, or made
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               20 impossible by MLD's conduct, and Plaintiff is no manner in breach of any ofthe agreements.
               21           57.    As a result ofBHI and its affi liates' failure and refusal to provide MLD with the

               22 opportunity to exercise its exclusive first right to develop the Adjacent Property as set forth in
               23 Section 7.6 of the Operating Agreement, MLD, in tum, breached the Loan Agreements by failing to
               24 provide Plaintiff with the opportunity to exercise its exclusive first right to finance the Adjacent
               25 Property as set forth in Section 7.6 ofthe Loan Agreements.
               26           58.    As a direct and proximate result of MLD s breach of the Loan Agreements, Plaintiff

               27   has sustained damages and wi ll continue to sustain damages in an amount to be proven at trial.

               28                                         THIRD CAUSE OF ACTION
               29       (Intentional Interference with Contract- Against Defendants BHI, Careage, Inc., Careage
               30                            Healthcare, Careage Home Health, RCCI, and Lynn)
               31           59.    Plaintiff restates and incorporates as though full y set forth here each of the allegations

               32 contained in paragraphs I through 48.
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              Case 5:18-cv-01636-JGB-SHK Document 1-1 Filed 08/03/18 Page 15 of 18 Page ID #:18


                             60.    Plaintiff is in a contractual relationship with MLD. by way of the Loan Agreements.
                2            61.    At all times relevant herein, Defendants were aware of the contractual relationship
                3 between Plaintiff and MLD.
                4            62.    Defendants acted to disrupt the contractual relationship between Plaintiff and MLD.
                5 Plaintiff is informed and believes, and on that basis alleges, that before and while negotiating a
                6 development plan for the Adjacent Property with EPIC, Defendants did not inform MLD about the
                7 plan or any opportunity to develop the Adjacent Property, and did not provide MLD a copy of the
                8 Purchase and Sale Agreement between RCCI and EPI C, or any written proposal for MLD to
                9 participate in the development of the Adjacent Property. Thus, MLD was unable to provide any
               10 such information to Plaintiff to allow Plaintiff to potentially finance such a development per the
               11   terms of the Loan Agreements. Moreover. Defendants did not separately provide any information to
               12 Plaintiff regarding an exclusive first oppor1unity to finance the development of the Adjacent
               13   Property.
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        c      14            63.    Defendants intended to disrupt the performance ofthe contracts between Plaintiff and
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        --'    15 MLD, or at least knew that disruption of performance was certain or substantially certain to occur.
1-             16       64.     Defendants· actions caused actual disruption of Plaintiff' s contractual relationship
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               17 with MLD. Specifically, as a result of Defendants' interference, Plaintiff lost its opportunity to
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0!:::   _Q     18 participate in financing the development of the Adjacent Property.
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~              19         65.      As a proximate result of Defendants' intentional interference with the contractual
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               20 relatio nship between Plaintiff and MLD Plaintiff has suffered damages in an amount to be proven at
               21   trial.
               22            66.    Defendants' acts were committed with malice, oppression, and fraud in that their

               23   conduct disrupting the performance of Plaintiff's contracts with MLD was despicable and done with

               24 a willful and knowing disregard of Plaintiff's ri ghts. Accordingly, Plaintiff seeks an award of
               25   punitive dan1ages.

               26                                      FOURTH CAUSE OF ACTION
               27     (Intentional Interference with Prospective Economic Advantage- Against Defendants BHI,
               28               Careage, Inc., Careage Healthcare, Careage Home Health, RCCI, and Lynn)

               29            67.    Plaintiff restates and incorporates as though fully set forth here each of the allegations

               30 contained in paragraphs 1 tlu·ough 48.
               31        68.     Plaintiff was in an economic relationship with MLD that probably would have

               32 resulted in an economic benefit to Plaintiff, i.e., the opportunity to participate in financing the
               33   development of the Adjacent Property.

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                                                                  COMPLAINT
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                                69.    At all times relevant herein. Defendants were aware of the economic relationship

                  2   between Plaintiff and MLD.

                  3             70.    Defendants engaged in wrongful conduct to disrupt the economic relationship

                  4   between Plaintiff and MLD. Plaintiff is informed and believes, and on that basis alleges, that

                  5   Defendants acted to conceal their development plan for the Adjacent Property in an effort to deny

                  6   Plaintiff a nd MLD their rights to participate in the development and financing of the Adjacent

                  7   Property. Defendants did not inform MLD about the plan or any opportunity to develop the

                  8   Adjacent Property, and did not provide MLD a copy of the Purchase and Sale Agreement between

                  9   RCCJ and E PIC, or any written proposal for MLD to participate in the development of the Adjacent

                 10   Property. Thus, MLD was unable to provide any such information to Plaintiff to allow Plaintiffto

                 11   potentially finance such a development per the terms of the Loan Agreements. Moreover,

                 12   Defendants concealed information from Plaintiff regard ing its exclusive first opportunity to finance

                 13   the development of the Adjacent Property.
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          c      14             71.    By engaging in the foregoing wrongful conduct, Defendants intended to disrupt the
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          --'    15   economic relationship between Plaintiff and MLD, or at least knew that disruption of that economic
~                     relationship was certain or substantially certain to occur.
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oz ~__.          17             72 .   Defendants' actions caused actual disruption of P laintiff's economic relationship with
~         _Q          MLD. Specificall y, as a result of Defendants' interference, Plaintiff lost its opportunity to
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~                19   participate in financing the development of the Adjacent Property.
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                 20             73.    As a proximate result of Defendants' intentional interference with the economic

                 21   relationship between Plaintiff and MLD, Plaintiff has suffered damages in an amount to be proven at

                 22   trial.

                 23             74.    Defendants' acts were committed with malice, oppression, and fraud in that their

                 24   conduct disrupting the economic relationship between Plaintiff and MLD was despicable and done

                 25   w ith a willful and knowing disregard of Plaintiffs rights. Accordingly, Plaintiff seeks an award of

                 26   punitive damages.

                 27                                        FIFTH CAUSE OF ACTION
                 28         (Negligent Interference with Prospective Economic Advantage- Against Defendants BHI,
                 29               Careage, Inc., Careage Healthcare, Careage Home Health, RCCI, and Lynn)

                 30             75.    Plaintiff restates and incorporates as though fully set forth here each of the allegations
                 31   contained in paragraphs 1 through 48.
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                 33   Ill

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                             76.   Plaintiff was in an economic relationship with MLD that probably would have
                2 resulted in an economic benefit to Plaintiff. i.e., the oppmtunity to participate in financing the
                3 development of the Adjacent Property.
                4            77.   At all times relevant herein, Defendants knew or should have known of the economic
                5 relationship between Plaintiff and MLD, and that the economic relationship between Plaintiff and
                6   MLD would be disrupted if Defendants failed to act with reasonable care.
                7            78.   Defendants failed to act with reasonable care. Instead, Defendants engaged in
                8 wrongful conduct to disrupt the economic relationship between Plaintiff and MLD. Plaintiff is
                9 informed and believes, and on that basis alleges, that Defendants concealed their development plan
               10 for the Adjacent Property in an effort to deny Plaintiff and MLD their rights to participate in the
               11 development and financing of the Adjacent Property. Defendants did not inform MLD about the
               12   plan or any opportunity to develop the Adjacent Property, and did not provide MLD a copy of the
               13   Purchase and Sale Agreement between RCCI and EPIC, or any written proposal for MLD to
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        c      14 participate in the development of the Adjacent Property. Thus, MLD was unable to provide any
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        --'    15 such information to Plaintiff to allow Plaintiff to potentially finance such a development per the
I-             16 terms of the Loan Agreements. Moreover, Defendants concealed information from Plaintiff
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o __.          17 regarding its exclusive first opportunity to finance the development of the Adjacent Property.
~                        79.      Defendants' actions caused actual disruption of Plaintiffs economic relationship with
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~              19   MLD. Specifically, as a result of Defendants' interference, Plaintiff lost its opportunity to
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               20   participate in financing the development of the Adjacent Property.
               21            80.   As a proximate result of Defendants' negligent interference with the economic
               22   relationship between Plaintiff and MLD. Plaintiff has suffered damages in an an1ount to be proven at

               23   trial.
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                                                     PRAYER FOR RELIEF
              2         WHEREFORE. Plaintiff prays for judgment against Defendants as follows:
              3         I.    For judgment in favor of Plaintiff and against Defendants:
              4         2.    For an award of compensatory dan1ages according to proof;
                        .,
              5         .).   For an award of punitive damages according to proof;
              6         4.    For a declaration setting forth each of the rights, responsibilities, and obligations of
              7               the parties as more specifically described in paragraph 52;

              8         5.    For an award of prejudgment interest to the extent permitted by law;
              9         6.    For an award of Plaintiffs' reasonable attorneys' fees to the el\'tent permitted by law;
             10         7.    For an award of costs of suit incurred herein; and
             11         8.    For such other and further relief as the Court deems just and proper.
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             13   DATED: July 30, 2018                        SKIERMONT DERBY LLP
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                                                                    PAUL B. DERBY
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